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16   10TALES, INC.
17                                 UNITED STATES DISTRICT COURT

18                   NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

19
     10TALES, INC.,                               Case No.: 5:21-cv-03868-VKD
20
                    Plaintiff,                    PLAINTIFF 10TALES, INC.’S REQUEST
21                                                FOR JUDICIAL NOTICE IN SUPPORT
            v.                                    OF PLAINTIFF’S OPPOSITION TO
22                                                DEFENDANTS’ MOTION TO DISMISS
     TIKTOK INC., TIKTOK PTE. LTD.
23   BYTEDANCE LTD., AND
     BYTEDANCE INC.,                              Date:              October 31, 2023
24                                                Time:              10:00 a.m.
                    Defendants.                   Courtroom:         2 – 5th Floor
25                                                Judge:             Hon. Virginia DeMarchi
26                                                [Filed Concurrently with Opposition and
                                                  Declaration of Nathan Dooley]
27

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                                                                            5:21-cv-03868-VKD
                                                    10TALES, INC.’S REQUEST FOR JUDICIAL NOTICE
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 1                                    REQUEST OR JUDICIAL NOTICE
 2             Plaintiff 10Tales, Inc. (“10Tales”) hereby requests, pursuant to Federal Rules of Evidence 201,
 3   that this Court take judicial notice of the following documents in support of 10Tales’ Opposition to
 4   Defendants’ Motion to Dismiss Plaintiff’s Amended Complaint for Failure to State a Claim Pursuant
 5   to Fed. R. Civ. P. 12(c) and 35 U.S.C. § 101.
 6             Under Federal Rule of Evidence 201, a court may take judicial notice, either on its own accord
 7   or by a party’s request, of facts that are not subject to reasonable dispute because they are:
 8   “(1) generally known within the trial court’s territorial jurisdiction; or (2) can be accurately and readily
 9   determined from sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201.
10   “Judicial notice is appropriate for records and reports of administrative bodies.” United States v. 14.02
11   Acres of Land More or Less in Fresno Cty., 547 F.3d 943, 955 (9th Cir. 2008) (internal citations
12   omitted). This includes records issued by the USPTO, such as a patent’s prosecution history. See Wi-
13   LAN Inc. v. LG Elecs., Inc., 382 F. Supp. 3d 1012, 1027-28 (S.D. Cal. 2019) (collecting supporting
14   cases).
15             Exhibit 1: Excerpts from a true and correct copy of the certified file history of U.S. Patent
16   No. 8,856,030 obtained from the United States Patent and Trademark Office. See, e.g., Genentech,
17   Inc. v. Chiron Corp., 112 F.3d 495, 497 n.1 (Fed. Cir. 1997) (taking judicial notice of the entire Board
18   of Patent Appeals and Interferences record because, among other reasons, the record is a public record
19   and “thus capable of accurate and ready determination by resort to unquestionable sources.”);
20   Manzarek v. St. Paul Fire & Marine Ins. Co., 519 F.3d 1025, 1030-31 (9th Cir. 2008) (on deciding a
21   motion to dismiss, it is proper for the court to consider “allegations contained in the pleadings, exhibits
22   attached to the complaint, and matters properly subject to judicial notice.”).
23

24                                                                   Respectfully submitted,
25
     Dated: October 3, 2023                                          COZEN O’CONNOR
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27                                                            By:     /s/ Thomas J. Fisher
                                                                     Barry Golob
28                                                                   Thomas J. Fisher
                                                                     Nathan Dooley

                                                          1                            5:21-cv-03868-VKD
                                                               10TALES, INC.’S REQUEST FOR JUDICIAL NOTICE
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                                                                            Attorneys for Plaintiff
 4                                                                          10Tales, Inc. 1
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         Each signatory concurred in the filing of this document.
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                                                                        10TALES, INC.’S REQUEST FOR JUDICIAL NOTICE
